                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


Commodity Futures Trading Commission,

                  Plaintiff,
                                                   Case No. 1:23-cv-1887
       v.
                                                   Judge Manish S. Shah
Changpeng Zhao, Binance Holdings Limited,
Binance Holdings (IE) Limited, Binance
(Services) Holdings Limited, and Samuel Lim,

                  Defendants.


                    NOTICE OF WITHDRAWAL OF APPEARANCE

       Defendants Binance Holding Limited, Binance Holdings (IE) Limited, and Binance

(Services) Holdings Limited (the “Binance Defendants”) respectfully request that the appearance

of Erin Gasparka on their behalf be withdrawn. The undersigned attorney from the firm of Riley

Safer Holmes & Cancila LLP will remain as local counsel for the Binance Defendants.


Dated: October 23, 2023                            Respectfully submitted,

                                                   /s/ John K. Theis

                                                   John K. Theis
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